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                             UNITED STATE DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

 CAROLYN NADEAU,                                       )
                                                       )
        Plaintiff,                                     )
                                                       )
 v.                                                    )    Civil Action No. 1:23-cv-00408-NT
 TOWN OF MILO,                                         )
                                                       )
        Defendant.                                     )

                          DEFENDANT’S OBJECTION TO
               PLAINTIFF’S MOTION TO AMEND SCHEDULING ORDER
       Defendant Town of Milo (“Defendant”), by and through undersigned counsel, hereby

responds to the Motion to Amend Scheduling Order filed by Plaintiff Carolyn Nadeau (“Plaintiff”),

as follows:

       1.      On January 8, 2024, the Court issued a Scheduling Order in this matter, which set

the deadline for Plaintiff to designate experts as March 21, 2024. (ECF 8.)

       2.      On March 21, 2024, Plaintiff moved to extend the Scheduling Order by 30 days on

the grounds that Plaintiff’s expert required additional time to complete an appraisal of the property

involved in this case. (ECF 14.) Defendant consented to that motion. The Court granted that motion

on March 22, 2024; Plaintiff’s deadline to designate experts was extended to April 30, 2024. (ECF

15.)

       3.      On April 26, 2024, Plaintiff again moved to extend the Scheduling Order by 30

days on the grounds that, inter alia, Plaintiff’s appraiser required additional time to complete an

appraisal of the property. (ECF 17.) Defendant consented to that motion. The Court granted that

motion on April 29, 2024; Plaintiff’s deadline to designate experts was extended to May 30, 2024.

(ECF 18.)
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       4.      On May 30, 2024, Plaintiff moved to extend the Scheduling Order a third time, this

time by 45 days, because, having finally obtained the appraisal, she now wishes to obtain a “second

opinion” as to the value of the property. (ECF 19.)

       5.      Defendant objects to this third request to enlarge the Scheduling Order.

       6.      Plaintiff has already been granted 60 additional days in which to obtain her

appraisal and designate her experts. That she is evidently unhappy with the results of that appraisal

is not grounds for further enlargement of her deadline to disclose her expert witnesses.

       7.      There is no reason why Plaintiff should reasonably require an additional 105 days

to designate her experts beyond the time provided in the Scheduling Order. It was incumbent upon

Plaintiff when filing this matter to be prepared to prosecute her case.

       8.      Defendant does not object to Plaintiff’s request for a status conference if desired by

the Court.

       9.      The meaning of Plaintiff’s alternative request “to allow Defendant’s counsel 5

business days to file their expert disclosure regarding the property appraisal already provided to

Plaintiff” is unclear to Defendant. It appears Plaintiff may have intended to request that Plaintiff’s

counsel be given such 5-day period. To the extent Plaintiff seeks designation of Defendant’s

witnesses before the July 5, 2024, deadline set by the Scheduling Order, as extended, or any less

than the standard period of time following Plaintiff’s designation, Defendant objects.

       WHEREFORE, Defendant requests that this Honorable Court deny Plaintiff’s Motion to

Amend Scheduling Order and grant such other and further relief as it deems appropriate.

Dated: June 3, 2024

                                                          /s/ Jonathan P. Hunter, Esq.
                                                          Jonathan P. Hunter, Bar No. 4912
                                                          jhunter@rudmanwinchell.com




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                                 CERTIFICATE OF SERVICE
        I certify that on this 31st day of May, 2024, I electronically filed Defendant’s Objection to
Plaintiff’s Motion to Amend Scheduling Order with the Court’s CM/ECF system, which
automatically sends notification to all counsel of record.

Dated: June 3, 2024
                                                      /s/ Jonathan P. Hunter, Esq.
                                                      Jonathan P. Hunter, Bar No. 4912




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